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6    Attorneys for Plaintiff
     The United States of America
7
                                 UNITED STATES DISTRICT COURT
8                                     DISTRICT OF NEVADA
9    UNITED STATES OF AMERICA,                            Case No. 2:20-mj-1110-BNW

10                  Plaintiff,                            Stipulation for an Order
                                                          Directing Probation to Prepare
11          v.                                            a Criminal History Report

12   GERARDO RIVERA-ROSALES,

13          Defendant.

14

15          IT IS HEREBY STIPULATED AND AGREED, by and between Nicholas A.

16   Trutanich, United States Attorney, and Jared L. Grimmer, Assistant United States

17   Attorney, counsel for the United States of America, and Raquel Lazo, Assistant Federal

18   Public Defender, counsel for Defendant GERARDO RIVERA-ROSALES, that the Court

19   direct the U.S. Probation Office to prepare a report detailing the defendant’s criminal

20   history.

21          This stipulation is entered into for the following reasons:

22          1.     The United States Attorney’s Office has developed an early disposition

23   program for immigration cases, authorized by the Attorney General pursuant to the

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1    PROTECT ACT of 2003, Pub. L. 108-21. Pursuant to this program, the government has

2    extended to the defendant a plea offer in which the parties would agree to jointly request an

3    expedited sentencing immediately after the defendant enters a guilty plea.

4           2.     The U.S. Probation Office cannot begin obtaining the defendant’s criminal

5    history until after the defendant enters his guilty plea unless the Court enters an order

6    directing the U.S. Probation Office to do so. Such an order is often entered in the minutes of

7    a defendant’s initial appearance when charged by indictment.

8           3.     The U.S. Probation Office informs the government that it would like to begin

9    obtaining the criminal history of defendants eligible for the early disposition program as

10   soon as possible after their initial appearance so that the Probation Office can complete the

11   Presentence Investigation Report by the time of the expected expedited sentencing.

12          4.     Accordingly, the parties request that the Court enter an order directing the

13   U.S. Probation Office to prepare a report detailing the defendant’s criminal history.

14          DATED this 6th day of January, 2021.

15                                                Respectfully submitted,

16
                                                  NICHOLAS A. TRUTANICH
17                                                United States Attorney

18                                                /s/ Jared L. Grimmer
      RAQUEL
       AQUEL   LLLAZO
                  AZO                             JARED L. GRIMMER
19    Assistant Federal Public Defender           Assistant United States Attorney
      Counsel for Defendant GERARDO
20    RIVERA-ROSALES

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1                            UNITED STATES DISTRICT COURT
2                                 DISTRICT OF NEVADA

3    UNITED STATES OF AMERICA,                            Case No. 2:20-mj-1110-BNW NJK

4                   Plaintiff,                            Order Directing Probation to Prepare
                                                          a Criminal History Report
5           v.                                            [Proposed]

6    GERARDO RIVERA-ROSALES,

7                  Defendant.

8

9           Based on the stipulation of counsel, good cause appearing, and the best interest of

10   justice being served:

11          IT IS HEREBY ORDERED that the U.S. Probation Office is directed to prepare a

12   report detailing the defendant’s criminal history.

13          DATED  this _____
            Dated: January  11,day of January, 2021.
                                2021

14

15                                              HONORABLE
                                                Nancy  J. Koppe BRENDA N. WEKSLER
                                                UNITED
                                                United     STATES
                                                       States      MAGISTRATE
                                                              Magistrate Judge JUDGE
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